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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 22-CR-20306-GAYLES/TORRES(s)


    UNITED STATES OF AMERICA

    vs.

    LUIS FERNANDO VUTEFF,

                   Defendant.
    ------------~/

                                         PLEA AGREEMENT

           The United States Attorney's Office for the Southern District of Florida and the United

    States Department of Justice, Criminal Division, Fraud Section (collectively, "the Offices") and

    LUIS FERNANDO VUTEFF (hereinafter referred to as the "defendant") enter into the following

    agreement:

           I.      The defendant understands that he has the right to have the evidence and charge

    against him presented to a federal grand jury for determination of whether there is probable cause

    to believe he committed the offense for which he is charged. Understanding that right, and after

    full and complete consultation with his counsel, the defendant agrees to waive in open court his

    right to prosecution by Indictment, agrees to waive any challenges to the statute of limitations or

    venue, and agrees that the Offices may proceed by way of a Superseding Information filed pursuant

    to Rule 7 of the Federal Rules of Criminal Procedure.

           2.      The defendant agrees to plead guilty to the offense in the Superseding Information,

    which charges the defendant with conspiracy to commit money laundering, in violation of Title

    18, United States Code, Sections l 956(h) and l 957(a).

           3.      The Offices agree to dismiss Count I of the Indictment.
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           4.      The defendant is aware that the sentence will be imposed by the Court after

    considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

    "Sentencing Guidelines"), as well as other factors enumerated in Title 18, United States Code,

    Section 3553(a). The defendant acknowledges and understands that the Court will compute an

    advisory sentencing range under the Sentencing Guidelines and that the applicable Sentencing

    Guidelines will be determined by the Court relying in part on the results of a pre-sentence

    investigation by the Court's probation office, which investigation will commence after the guilty

    plea has been entered. The defendant is also aware that, under certain circumstances, the Court

    may depati from the advisory Sentencing Guidelines range that it has computed, and may raise or

    lower that advisory sentence under the Sentencing Guidelines. The defendant is further aware

    and understands that the Court is required to consider the advisory sentencing range determined

    under the Sentencing Guidelines, but is not bound to impose a sentence within that advisory range;

    the Comi is permitted to tailor the ultimate sentence in light of other statutory concerns, and such

    sentence may be either more severe or less severe than the Sentencing Guidelines' advisory range.

    Knowing these facts, the defendant understands and acknowledges that the Court has the authority

    to impose any sentence within and up to the statutory maximum authorized by law for the offense

    identified in paragraph 2 and that the defendant may not withdraw the plea solely as a result of the

    sentence imposed.

           5.      The defendant also understands and acknowledges that the Court may impose a

    term of imprisonment of up to IO years, followed by a term of supervised release of up to 3 years.

    In addition to a term of imprisonment and supervised release, the Court may impose a fine of up




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    to $5pef,p~ or twice the amount of the criminally derived property involved in the offense's

    transactions, whichever is greater, and order criminal forfeiture and restitution.

           6.      The defendant further understands and acknowledges that, in addition to any

    sentence imposed under paragraph 5 of this agreement, a special assessment in the amount of $100

    will be imposed on the defendant. The defendant agrees that any special assessment imposed

    shall be paid at the time of sentencing. If the defendant is financially unable to pay the special

    assessment, the defendant agrees to present evidence to the Offices and the Court at the time of

    sentencing as to the reasons for the defendant's failure to pay.

           7.      The Offices reserve the right to inform the Comt and the probation office of all

    facts pertinent to the sentencing process, including all relevant information concerning the offenses

    committed, whether charged or not, as well as concerning the defendant and the defendant's

    background. Subject only to the express terms of any agreed-upon sentencing recommendations

    contained in this agreement, the Offices fmther reserve the right to make any recommendation as

    to the quality and quantity of punishment.

           8.      The Offices agree that they will recommend at sentencing that the Comt reduce by

    two levels the level applicable to the defendant's offense, pursuant to Section 3El.1 (a) of the

    Sentencing Guidelines, based upon the defendant's recognition and affirmative and timely

    acceptance of personal responsibility. If at the time of sentencing the defendant's offense level is

    determined to be 16 or greater, the Offices will file a motion requesting an additional one level

    decrease pursuant to Section 3E 1.1 (b) of the Sentencing Guidelines, stating that the defendant has

    assisted authorities in the investigation or prosecution of the defendant's own misconduct by

    timely notifying authorities of the defendant's intention to enter a plea of guilty, thereby permitting



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    the government to avoid preparing for trial and permitting the government and the Court to allocate

    their resources efficiently. The Offices, however, will not be required to make this motion if the

    defendant: (a) fails or refuses to make a full, accurate and complete disclosure to the probation

    office of the circumstances surrounding the relevant offense conduct; (b) is found to have

    misrepresented facts to the government prior to entering into this plea agreement; (c) commits any

    misconduct after entering into this plea agreement, including but not limited to committing a state

    or federal offense, violating any term of release, or making false statements or misrepresentations

    to any governmental entity or official; or (d) fails to fully assist in the forfeiture of assets as set

    forth in this agreement.

            9.     The defendant agrees that the defendant shall cooperate fully with the Offices by:

    (a) providing truthful and complete information and testimony, and producing documents, records

    and other evidence, when called upon by the Offices, whether in interviews, before a grand jury,

    or at any trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings,

    trials, and other judicial proceedings, and at meetings, as may be required by the Offices; and (c) if

    requested by the Offices, working in an undercover role under the supervision of, and in

    compliance with, law enforcement officers and agents. Any assistance the defendant may provide

    to the United States federal criminal investigators shall be pursuant to the specific instructions and

    control of the Offices and designated United States investigators.        In addition, the defendant

    agrees that he will not protect any person or entity through false information or omission, that he

    will not falsely implicate any person or entity, and that he that he will not commit any further

    crimes. The defendant further agrees not to reveal his cooperation, or any information derived

    therefrom, to any third party without prior consent of the Government.



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           10.     The Offices reserve the right to evaluate the nature and extent of the defendant's

    cooperation and to make that cooperation, or lack thereof, known to the Court at the time of

    sentencing. If in the sole and unreviewable judgment of the Offices the defendant's cooperation

    is of such quality and significance to the investigation or prosecution of other criminal matters as

    to warrant the Court's downward departure from the advisory sentencing range calculated under

    the Sentencing Guidelines and/or any applicable minimum mandatory sentence, the Offices may

    make a motion prior to sentencing pursuant to Section 5Kl .1 of the Sentencing Guidelines and/or

    Title 18, United States Code, Section 3553(e), or subsequent to sentencing pursuant to Rule 35 of

    the Federal Rules of Criminal Procedure, informing the Court that the defendant has provided

    substantial assistance and recommending that the defendant's sentence be reduced.               The

    defendant understands and agrees, however, that nothing in this agreement requires the Offices to

    file any such motions, and that the Offices' assessment of the quality and significance of the

    defendant's cooperation shall be binding as it relates to the appropriateness of the Offices' filing

    or non-filing of a motion to reduce sentence.

           11.     The defendant understands and acknowledges that the Court is under no obligation

    to grant a motion for reduction of sentence filed by the Offices. In addition, the defendant further

    understands and acknowledges that the Court is under no obligation of any type to reduce the

    defendant's sentence because of the defendant's cooperation.

           12.     In the event that the defendant chooses to seek a variance from the sentencing range

    under the Sentencing Guidelines, the defendant further agrees that any such application shall be

    filed in writing with the Comi and served on the United States no later than the deadline for

    submitting objections to the probation office's pre-sentence investigation report stated in Federal


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    Rule of Criminal Procedure 32(f)(l ), subject to any extension of time agreed upon between the

    parties or ordered by the Court.

           13.     This Offices and the defendant agree that, although not binding on the probation

    office or the Cou1i, they will jointly recommend that the Court make the following findings and

    conclusions as to the sentence to be imposed:

                  (i)      The Base Offense Level is properly calculated under Section 2S 1.1 (a)(2) of

          the Sentencing Guidelines and is 28 because the base offense level is 8 plus a 20-level

          increase pursuant to the table in Section 2B 1.1 (b )(1) as the value of the laundered funds

          exceeds $9,500,000;

                  (ii)     The defendant should receive a 1-level enhancement because the defendant

          was convicted under 18 U.S.C. § 1957 pursuant to Section 2S 1.1 (b )(2)(A) of the Sentencing

          Guidelines;

                  (iii)    The defendant should receive a 2-level decrease because the defendant

          meets the criteria under Section 4C 1.1 of the Sentencing Guidelines;

                  (iv)     The defendant will argue that he should receive a 2-level decrease for

          mitigating role pursuant to Section 3B l .2(b);

                  (v)     No other adjustments apply, save for Acceptance of Responsibility in

          accordance with paragraph 8 above and Section 3El.1 of the Sentencing Guidelines;

                  (vi)     The Total Offense Level is 27 less any adjustment for Acceptance of

          Responsibility if the Comi does not apply the mitigating role decrease and the Total Offense

          Level is 25 less any adjustment for Acceptance of Responsibility if the Court applies the

          mitigating role decrease; and


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                  (vii)    Based on a Criminal History Category ofl and a Total Offense Level of 27,

          the defendant's advisory sentencing range under the Sentencing Guidelines is 70 months to

          87 months' imprisonment before any adjustment for Acceptance of Responsibility or if a

          Total Offense Level of 25, 57 months to 71 months imprisonment before any adjustment

          for Acceptance of Responsibility.

            14.    Although not binding on the probation office or the Court, the Offices and the

    defendant further agree that, except as otherwise expressly contemplated in this agreement, they

    will jointly recommend that the Court neither depart upward nor depart downward under the

    Sentencing Guidelines when determining the advisory sentencing range in this case.

            15.    The defendant is aware that the sentence has not yet been determined by the Court.

    The defendant also is aware that any estimate of the probable sentencing range or sentence that the

    defendant may receive, whether that estimate comes from the defendant's counsel, the Offices, or

    the probation office, is a prediction, not a promise, and is not binding on the Offices, the probation

    office or the Court. The defendant understands further that any recommendation that the Offices

    make to the Court as to sentencing, whether pursuant to this agreement or otherwise, is not binding

    on the Court and the Court may disregard the recommendation in its entirety. The defendant

    understands and acknowledges, as previously acknowledged in paragraph 4 above, that the

    defendant may not withdraw his plea based upon the Court's decision not to accept a sentencing

    recommendation made by the defendant, the Offices, or a recommendation made jointly by the

    defendant and the Offices.

            16.    This agreement and defendant's plea resolves the defendant's federal criminal

    liability with regard to the Offices for conducted related to that described in the Factual Proffer


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    except criminal tax liability (as to which the Offices do not have authority to make any agreement).

    The defendant understands that this agreement is binding only as to the Offices and only relating

    to conduct described in the Factual Proffer.

           17.     The defendant agrees, in an individual and any other capacity, to forfeit to the

    United States, voluntarily and immediately, any right, title, and interest to any property, real or

    personal, involved in the commission of the offense, in violation of Title 18, United States Code,

    Section 1956, or any property traceable to such property, pursuant to Title 18, United States Code,

    Section 982(a)(l), and the provisions of Title 21, United States Code, Section 853. In addition,

    the defendant agrees to the forfeiture of substitute property pursuant to Title 21, United States

    Code, Section 853(p). The property subject to forfeiture includes, but is not limited to:

                   a.          a forfeiture money judgment in the sum of up to $4,124,722 in U.S.

           currency, which sum represents the value of the property the defendant obtained as a result

           of the offense of conviction; and

                   b.          substitute property, including, but not limited to:

                          i.          An apaiiment located at 2775 Northeast 187°1 Street, Unit No. 524,

                                      Miami, Florida, 33180;

                         11.          An apartment located at Avenida Santa Teresa 2427, Piso 1301,

                                      Asuncion, Paraguay;

                        Ill.          An account at Bordier Bank (TCI) Ltd., belonging to Boxwood

                                      Holding, Ltd., bearing account number 1250; and

                        1v.            Cash currently held by the Clerk of Court for the Southern District

                                      of Florida, which was used to secure the defendant's pretrial release


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                                     on the instant charges.

                         v.          A building located at Edificio de Ia Calle Illustraci6n, Pincas de

                                     Illustraci6n 3, 5, 7, and 9, Madrid, Spain.

            18.    The defendant further agrees that forfeiture is independent of any assessment, fine,

    cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

    voluntarily agrees to waive all constitutional, legal, and equitable defenses to the forfeiture,

    including excessive fines under the Eighth Amendment to the United States Constitution. In

    addition, the defendant agrees to waive: any applicable time limits for administrative or judicial

    forfeiture proceedings, the requirements of Federal Rules of Criminal Procedure 32.2 and 43(a),

    and any appeal of the forfeiture.

            19.    The defendant also agrees to fully and truthfully disclose the existence, nature and

    location of all assets in which the defendant has or had any direct or indirect financial interest or

    control, and any assets involved in the offense of conviction. The defendant agrees to take all

    steps requested by the United States for the recovery and forfeiture of all assets identified by the

    United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon

    request of all necessary and appropriate documentation to deliver good and marketable title,

    consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,

    civil or administrative forfeiture proceeding concerning the forfeiture.

           20.     In fmiherance of the satisfaction of a forfeiture money judgment to be entered by

    the Court in this case, the defendant agrees to the following:

                   (i)        submit a financial statement to the Offices upon request, within 14 calendar

           days from the request;


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                      (ii)     maintain any asset valued in excess of $10,000, and not sell, hide, waste,

            encumber, destroy, or otherwise devalue such asset without prior approval of the United

            States;

                      (iii)     provide information about any transfer of an asset valued in excess of

            $10,000 since the commencement of the offense conduct in this case to date;

                      (iv)      cooperate fully in the investigation and the identification of assets,

            including         liquidating assets, meeting with representatives of the United States, and

            providing any documentation requested; and

                      (v)      notify, within 30 days, the Clerk of the Court for the Southern District of

            Florida and the Offices of: (i) any change of name, residence, or mailing address, and (ii)

            any material change in economic circumstances.

            21.       The defendant further understands that providing false or incomplete information

    about assets, concealing assets, making materially false statements or representations, or making

     or using false writings or documents pertaining to assets, taking any action that would impede the

    forfeiture of assets, or failing to cooperate fully in the investigation and identification of assets

     may be used as a basis for: (i) separate prosecution, including, under Title 18, United States Code,

     Section 1001; or (ii) recommendation of a denial of a reduction for acceptance of responsibility

     pursuant to the Section 3El .1 of the Sentencing Guidelines.

            22.       The defendant is aware that Title 18, United States Code, Section 3742 and Title

     28, United States Code, Section 1291 afford the defendant the right to appeal the sentence imposed

     in this case. Acknowledging this, in exchange for the undertakings made by the Offices in this

     agreement, the defendant hereby waives all rights conferred by Sections 3742 and 1291 to appeal
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    any sentence imposed, including any restitution order, or to appeal the manner in which the

    sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

    result of an upward departure and/or an upward variance from the advisory sentencing range that

    the Court establishes at sentencing.      The defendant fmiher understands that nothing in this

    agreement shall affect the Offices' right and/or duty to appeal as set f01ih in Title 18, United States

    Code, Section 3742(6) and Title 28, United States Code, Section 1291. However, if the Offices

    appeal the defendant's sentence pursuant to Sections 3742(6) and 1291, the defendant shall be

    released from the above waiver of appellate rights. In addition to the foregoing provisions, the

    defendant hereby waives all rights to argue on appeal that the statute to which the defendant is

    pleading guilty is unconstitutional and that the admitted conduct does not fall within the scope of

    the statute.   By signing this agreement, the defendant acknowledges that the defendant has

    discussed the appeal waiver set forth in this agreement with the defendant's counsel.

            23.     The defendant recognizes that pleading guilty may have consequences with respect

    to the defendant's immigration status if the defendant is not a citizen of the United States. Under

    federal law, a broad range of crimes are removable offenses, including the offense to which the

    defendant is pleading guilty. Indeed, because the defendant is pleading guilty to conspiracy to

    commit money laundering, removal is presumptively mandatory.                    Removal and other

     immigration consequences are the subject of a separate proceeding, however, and the defendant

    understands that no one, including the defendant's counsel or the Court, can predict to a certainty

    the effect of the defendant's conviction on the defendant's immigration status. The defendant

    nevertheless affirms that the defendant wants to plead guilty regardless of any immigration




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    consequences that the defendant's plea may entail, even if the consequence is the defendant's

    automatic removal from the United States.

           24.     The Offices and the defendant stipulate to and agree not to contest the facts in the

    Factual Proffer, and stipulate that such facts, in accordance with Federal Rule of Criminal

    Procedure 11 (b )(3), provide a sufficient factual basis for the plea of guilty in this case. The

    defendant agrees that the facts in the Factual Proffer are true and correct to the best of the

    defendant's knowledge. Because the factual basis set forth in the Factual Proffer has the limited

    purpose of supporting the defendant's guilty plea to the charge discussed in paragraph 2, the factual

    basis set fo1ih in the Factual Proffer does not purport to represent all facts and circumstances

    relating to the defendant's pmiicipation. Similarly, the factual basis in the Factual Proffer is not

    intended to identify all knowledge the defendant might have of the unlawful activity of other

    individuals.

           25.     Effective as of the date the defendant signs this agreement, and notwithstanding

    any other subsequent event, including but not limited to in the event the defendant fails to plead

    guilty, the Court refuses to accept the defendant's guilty plea, or the defendant withdraws (or

    attempts to withdraw) from this agreement, or should the Offices, in their sole discretion,

    determine that the defendant has failed to fully comply with any of the terms of this agreement,

    the Offices will be released from their obligations under this agreement, and the defendant agrees

    and understands that:

                   (a)      the defendant hereby waives any protection afforded by any proffer letter

           agreement between the parties;




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                (b)      the defendant will not assert any claim under the Federal Rules of Evidence

          (including Federal Rule of Evidence 4 I 0), the Federal Rules of Criminal Procedure

          (including Federal Rule of Criminal Procedure 11), or the Sentencing Guidelines

          (including Section I BI. I (a) of the Sentencing Guidelines) that the Factual Proffer entered

          in connection with this agreement should be suppressed or is otherwise inadmissible as

          evidence (in any form);

                (c)      any statements made by the defendant as part of the plea discussions, any

          debriefings or interviews, or in this agreement, whether made prior to or after the execution

          of this agreement, will be admissible against him without any limitation in any civil or

          criminal proceeding brought by the Offices;

                (d)      the defendant's waiver of any defense based on the statute of limitations

          and venue, including the waiver set forth in this agreement, or any defense based on the

          passage of time in filing an Indictment or Superseding Information, referred to herein, shall

          remain in full force and effect;

                (e)      the defendant stipulates to the admissibility and authenticity, in any case

          brought by the United States in any way related to the facts referred to in this agreement,

          of any documents provided by the defendant or the defendant's representatives to any state

          or federal agency and/or the Offices; and

                (f)      the defendant has adopted the entire factual basis as the defendant's

          statements, and the defendant has stipulated to the admissibility of the Factual Proffer in

          any case brought by the United States as substantive evidence offered by the government




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            in its case-in-chief and rebuttal case; impeachment evidence offered by the government on

            cross-examination; and evidence at any sentencing hearing or other hearing.

            26.    This is the entire agreement and understanding between the Offices and the

    defendant. There are no other agreements, promises, representations, or understandings.



                                                 GLENNS. LEON
                                                 CHIEF, FRAUD SECTION
                                                 U.S. Department of Justice, Criminal Division


    Date:   6 /ti l 2-J                         : r~       D~
                                                TRIAL ATTORNEY
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                                                 MARKENZY LAPOINTE
                                                 UNITED STATES ATTORNEY


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                                                 A    O NE     FOR DEFENDANT




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